Case 4:20-cv-00957-SDJ Document 614-2 Filed 09/20/24 Page 1 of 1 PageID #: 21749




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

  THE STATE OF TEXAS, et al.,                      §
                                                   §
                    Plaintiffs,                    §    Civil Action No. 4:20-cv-00957-SDJ
                        v.                         §
                                                   §
  GOOGLE LLC,                                      §
                                                   §
                    Defendant.                     §

                                     [PROPOSED] ORDER

          Having considered Google LLC’s (“Google’s”) Motion To Establish Deadlines And

 Confirm Decision Maker For Motion To Strike (“Motion”), the Court finds that the Motion should

 be GRANTED. It is therefore ORDERED that the briefing deadlines in connection with Google’s

 motion to strike certain opinions of Plaintiffs’ rebuttal experts David DeRamus and Anil Somayaji

 shall be as follows:

                                      Filing               Deadline
                           Google’s Motion to Strike        9/20/24
                           Plaintiffs’ Opposition           9/27/24
                           Google’s Reply                   10/2/24

          It is further ORDERED that this Court (as opposed to the Special Master in the first

 instance) will consider and rule on the Motion.

          The deadlines set by the operative Scheduling Order (Dkt. #609; Dkt. #194) remain in

 place.
